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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,           )
         Plaintiff,                 )
                                    )
v.                                  ) Case No. 1:17-cr-00224-AT-CMS
                                    )
ALLEN J. PENDERGRASS,               )
          Defendant.                )
____________________________________)

     DEFENDANT’S MOTION FOR EXTENSION OF TIME TO FILE
      RENEWED RULE 29 MOTION AND/OR RULE 33 MOTION

      Pursuant to Fed. R. Crim. P. Rule 29 and Rule 33, Mr. Pendergrass has 14

days from the entry of the jury verdict to file any motion for new trial and/or

renewed motion for judgment of acquittal. Mr. Pendergrass anticipates filing at

least one of these post-trial motions in this case. Counsel believes a sufficient

basis exists to file a motion related to the sufficiency of the evidence, errors in

admitting intrinsic act evidence, and errors in jury instructions.

      However, counsel would like to review the transcripts of the trial so that she

can cite to specific passages in her motion. For this reason, counsel is requesting

an extension of time in which to file these motions. Counsel has requested the

transcripts from trial and would like to have 30 days beyond the completion of the

transcripts to file any post-trial motion in this case.

      Counsel has contacted AUSA Jeff Brown, who objects to this request.
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Respectfully submitted this 10th day of December 2021.

                                     /s/SARALIENE S. DURRETT
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                                     1800 Peachtree Street, Suite 300
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                                     /s/SYDNEY R. STRICKLAND
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                                     404-590-7967

                                     Counsel for Mr. Pendergrass




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                         CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this date electronically filed the

foregoing motion with the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorney(s) of

record:

All Defense Counsel

All AUSAs of record

      Respectfully submitted this day 10th of December 2021.

                                             /s/SARALIENE S. DURRETT
                                             Saraliene S. Durrett
                                             GA Bar No. 837897
                                             1800 Peachtree Street
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